




NO. 07-08-0175-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



SEPTEMBER 23, 2008

______________________________



EDWIN DEGRAFF,



Appellant



V.



THE STATE OF TEXAS,



Appellee

_________________________________



FROM THE 64
th
 DISTRICT COURT OF HALE COUNTY;



NO. B16020-0505; HON. ROBERT W. KINKAID, PRESIDING

_______________________________



Abatement and Remand

_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant Edwin DeGraff appeals his conviction for aggravated sexual assault of a child. &nbsp;On June 16, 2008, the clerk’s record was filed. &nbsp;The reporter’s record was due on July 11, 2008. &nbsp;Two extensions of that deadline have been granted to date. &nbsp;However, the court reporter has now filed her third extension. &nbsp;&nbsp;

Accordingly, we abate this appeal and remand the cause to the 64
th
 District Court of Hale County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:	 

1. &nbsp;when the reporter’s record can reasonably be filed (given the length of trial and size of the record) in a manner that does not unduly delay the prosecution of this appeal, and,



2. whether an alternate or substitute reporter should or can be appointed to complete the record in a timely manner. 



The trial court shall 1) execute findings of fact and conclusions of law addressing the foregoing issues, and 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter. &nbsp;Additionally, the district court shall then cause the supplemental record to be filed with the clerk of this court on or before October 23, 2008. &nbsp;&nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before October 23, 2008.

It is so ordered.

Per Curiam



Do not publish.

 








